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                                                          ORDERED.


         Dated: February 15, 2019




                                       UNITED STATES BANKRUPTCY COURT
                                          MIDDLE DISTRICT OF FLORIDA
                                               ORLANDO DIVISION
                                               www.flmb.uscourts.gov

In re:
                                                                                Case No.: 6:17-bk-00441-KSJ
Cocoa Expo Sports Center, LLC,                                                  Chapter 11

           Taxpayer ID No. XX-XXXXXXX,

            Debtor.
_____________________________________/

                                                            FINAL DECREE

           THIS CASE came before the Court at a hearing on November 14, 2018, to consider and

act upon: (i) Debtor’s motion (Doc. No. 241) for final decree closing case; and (ii) objection

(Doc. No. 243) filed by Bank of Washington. The Court finds and concludes:

           1.         On August 21, 2017, the Court entered an order (Doc. No. 173) confirming

Debtor’s First Amended Plan of Reorganization (Doc. No. 147), as modified (Doc. No. 162)

(collectively, the “Plan”).

           2.         The Plan has been substantially consummated and the estate is fully administered.

           3.         The Court has disposed of all adversary proceedings, contested matters, and claim

objections.

           Based on the foregoing and for the reasons stated and recorded in open court, it is



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           ORDERED:

           1.         This case is closed.

           2.         Debtor is enjoined from filing a case under any chapter of the Bankruptcy Code,

11 U.S.C. §§ 101 et seq., for a period of two (2) years after the date of this Order.



Attorney David McFarlin is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and to file a proof of service within three days of entry of the order.




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